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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

ARTHUR M. LOVE                              *

                Plaintiff                   *

       v.                                   *       Case No.: 1:21-cv-02029-ELH

LARRY HOGAN, et al.                         *

                Defendants                  *

*      *        *       *       *    *      *       *      *       *      *       *     *

                                             LINE

       PLEASE NOTE that Jan I. Berlage and Gohn Hankey & Berlage LLP will not be entering

their appearance on behalf of Plaintiff’s Arthur M. Love in the above-captioned case.




                                                    Respectfully submitted,

                                                      /s/ Jan I. Berlage
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 29, 2022 a copy of the Line filed by Jan I. Berlage
was served via CM/ECF to:

                       Robert A. Scott, Esquire (rscott@oag.state.md.us)
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and via email and first class mail, postage pre-paid to:

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                                                        /s/ Jan I. Berlage
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